Case 2:21-cv-00246-JRG Document 99 Filed 05/16/22 Page 1 of 5 PageID #: 2062




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


    UNITED SERVICES AUTOMOBILE
    ASSOCIATION,

                            Plaintiff,

                       v.                       Civil Action No. 2:21-cv-00246-JRG

    PNC BANK, N.A.,
                        Defendant.




                       THIRD AMENDED DOCKET CONTROL ORDER

    Current Deadline        Amended Deadline       Event

    August 22, 2022                                *Jury Selection – 9:00 a.m. in Marshall,
                                                   Texas

    July 25, 2022                                  * If a juror questionnaire is to be used, an
                                                   editable (in Microsoft Word format)
                                                   questionnaire shall be jointly submitted to the
                                                   Deputy Clerk in Charge by this date.1

    July 20, 2022                                  *Pretrial Conference – 9:00 a.m. in Marshall,
                                                   Texas before Judge Rodney Gilstrap

    July 11, 2022                                  *Notify Court of Agreements Reached During
                                                   Meet and Confer
                                                   The parties are ordered to meet and confer on
                                                   any outstanding objections or motions in
                                                   limine. The parties shall advise the Court of
                                                   any agreements reached no later than 1:00
                                                   p.m. three (3) business days before the pretrial
                                                   conference.


1
 The Parties are referred to the Court’s Standing Order Regarding Use of Juror Questionnaires in
Advance of Voir Dire.

                                               1
Case 2:21-cv-00246-JRG Document 99 Filed 05/16/22 Page 2 of 5 PageID #: 2063




Current Deadline     Amended Deadline       Event

July 11, 2022                               *File Joint Pretrial Order, Joint Proposed Jury
                                            Instructions, Joint Proposed Verdict Form,
                                            Responses to Motions in Limine, Updated
                                            Exhibit Lists, Updated Witness Lists, and
                                            Updated Deposition Designations

July 1, 2022                                *File Notice of Request for Daily Transcript or
                                            Real Time Reporting.
                                            If a daily transcript or real time reporting of
                                            court proceedings is requested for trial, the
                                            party or parties making said request shall file a
                                            notice with the Court and e-mail the Court
                                            Reporter, Shawn McRoberts, at
                                            shawn_mcroberts@txed.uscourts.gov.

June 27, 2022                               File Motions in Limine
                                            The parties shall limit their motions in limine
                                            to issues that if improperly introduced at trial
                                            would be so prejudicial that the Court could
                                            not alleviate the prejudice by giving
                                            appropriate instructions to the jury.

N/A                  June 28, 2022          Sur Replies to Dispositive Motions (including
                                            Daubert Motions); Sur Replies to Motion to
                                            Strike

June 27, 2022                               Serve Objections to Rebuttal Pretrial
                                            Disclosures

N/A                  June 22, 2022          Replies to Dispositive Motions (including
                                            Daubert Motions); Replies to Motion to Strike

June 20, 2022        June 21, 2022          Serve Objections to Pretrial Disclosures; and
                                            Serve Rebuttal Pretrial Disclosures

June 6, 2022                                Serve Pretrial Disclosures (Witness List,
                                            Deposition Designations, and Exhibit List) by
                                            the Party with the Burden of Proof

May 31, 2022         June 14, 2022          *Response to Dispositive Motions (including
                                            Daubert Motions). Responses to dispositive
                                            motions that were filed prior to the dispositive
                                            motion deadline, including Daubert Motions,
                                            shall be due in accordance with Local Rule

                                        2
Case 2:21-cv-00246-JRG Document 99 Filed 05/16/22 Page 3 of 5 PageID #: 2064




    Current Deadline        Amended Deadline           Event
                                                       CV- 7(e), not to exceed the deadline as set
                                                       forth in this Docket Control Order.2 Motions
                                                       for Summary Judgment shall comply with
                                                       Local Rule CV-56.

    May 23, 2022            June 2, 2022               *File Motions to Strike Expert Testimony
                                                       (including Daubert Motions)
                                                       No motion to strike expert testimony
                                                       (including a Daubert motion) may be filed
                                                       after this date without leave of the Court.

    May 23, 2022            June 2, 2022               *File Dispositive Motions
                                                       No dispositive motion may be filed after this
                                                       date without leave of the Court.
                                                       Motions shall comply with Local Rule CV-56
                                                       and Local Rule CV-7. Motions to extend page
                                                       limits will only be granted in exceptional
                                                       circumstances. Exceptional circumstances
                                                       require more than agreement among the
                                                       parties.

    May 18, 2022            May 25, 2022               Deadline to Complete Expert Discovery


(*) indicates a deadline that cannot be changed without showing good cause. Good cause is not
shown merely by indicating that the parties agree that the deadline should be changed.

                                ADDITIONAL REQUIREMENTS

        Mediation: While certain cases may benefit from mediation, such may not be appropriate for
every case. The Court finds that the Parties are best suited to evaluate whether mediation will benefit
the case after the issuance of the Court’s claim construction order. Accordingly, the Court ORDERS
the Parties to file a Joint Notice indicating whether the case should be referred for mediation within
fourteen days of the issuance of the Court’s claim construction order. As a part of such Joint
Notice, the Parties should indicate whether they have a mutually agreeable mediator for the Court to



2
 The parties are directed to Local Rule CV-7(d), which provides in part that “[a] party’s failure to
oppose a motion in the manner prescribed herein creates a presumption that the party does not
controvert the facts set out by movant and has no evidence to offer in opposition to the motion.” If the
deadline under Local Rule CV 7(e) exceeds the deadline for Response to Dispositive Motions, the
deadline for Response to Dispositive Motions controls.

                                                   3
Case 2:21-cv-00246-JRG Document 99 Filed 05/16/22 Page 4 of 5 PageID #: 2065




consider. If the Parties disagree about whether mediation is appropriate, the Parties should set forth a
brief statement of their competing positions in the Joint Notice.

         Summary Judgment Motions, Motions to Strike Expert Testimony, and Daubert
Motions: For each motion, the moving party shall provide the Court with two (2) hard copies of the
completed briefing (opening motion, response, reply, and if applicable, sur-reply), excluding exhibits,
in D-three-ring binders, appropriately tabbed. All documents shall be single-sided and must include
the CM/ECF header. These copies shall be delivered to the Court within three (3) business days after
briefing has completed. For expert-related motions, complete digital copies of the relevant expert
report(s) and accompanying exhibits shall be submitted on a single flash drive to the Court. Complete
digital copies of the expert report(s) shall be delivered to the Court no later than the dispositive motion
deadline.

        Indefiniteness: In lieu of early motions for summary judgment, the parties are directed to
include any arguments related to the issue of indefiniteness in their Markman briefing, subject to the
local rules’ normal page limits.

        Lead Counsel: The Parties are directed to Local Rule CV-11(a)(1), which provides that “[o]n
the first appearance through counsel, each party shall designate a lead attorney on the pleadings or
otherwise.” Additionally, once designated, a party’s lead attorney may only be changed by the filing
of a Motion to Change Lead Counsel and thereafter obtaining from the Court an Order granting leave
to designate different lead counsel.

        Motions for Continuance: The following excuses will not warrant a continuance nor justify
a failure to comply with the discovery deadline:

(a)    The fact that there are motions for summary judgment or motions to dismiss pending;

(b)    The fact that one or more of the attorneys is set for trial in another court on the same day,
       unless the other setting was made prior to the date of this order or was made as a special
       provision for the parties in the other case;

(c)    The failure to complete discovery prior to trial, unless the parties can demonstrate that it was
       impossible to complete discovery despite their good faith effort to do so.

       Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on the
DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO shall include
a proposed order that lists all of the remaining dates in one column (as above) and the proposed
changes to each date in an additional adjacent column (if there is no change for a date the proposed
date column should remain blank or indicate that it is unchanged). In other words, the DCO in the
proposed order should be complete such that one can clearly see all the remaining deadlines and the
changes, if any, to those deadlines, rather than needing to also refer to an earlier version of the DCO.

       Proposed DCO: The Parties’ Proposed DCO should also follow the format described above
under “Amendments to the Docket Control Order (‘DCO’).”

        Joint Pretrial Order: In the contentions of the Parties included in the Joint Pretrial Order, the
Plaintiff shall specify all allegedly infringed claims that will be asserted at trial. The Plaintiff shall

                                                    4
Case
.    2:21-cv-00246-JRG Document 99 Filed 05/16/22 Page 5 of 5 PageID #: 2066




also specify the nature of each theory of infringement, including under which subsections of 35 U.S.C.
§ 271 it alleges infringement, and whether the Plaintiff alleges divided infringement or infringement
under the doctrine of equivalents. Each Defendant shall indicate the nature of each theory of invalidity,
including invalidity for anticipation, obviousness, subject-matter eligibility, written description,
enablement, or any other basis for invalidity. The Defendant shall also specify each prior art reference
or combination of references upon which the Defendant shall rely at trial, with respect to each theory
of invalidity. The contentions of the Parties may not be amended, supplemented, or dropped without
leave of the Court based upon a showing of good cause.

    So ORDERED and SIGNED this 16th day of May, 2022.




                                                        ____________________________________
                                                        RODNEY GILSTRAP
                                                        UNITED STATES DISTRICT JUDGE




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